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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

                                         )
MICHAEL DARDASHTIAN, individually and on )                Case No. 17 CV 4327 (LLS)(RWL)
behalf of COOPER SQUARE VENTURES, LLC )
NDAP, LLC and CHANNEL REPLY              )
                   Plaintiffs,           )
                                         )
        -against-                        )
                                         )
DAVID GITMAN, ACCEL COMMERCE,            )                   AMENDED
LLC, DALVA VENTURES, LLC,                )                   SCHEDULING ORDER
KONSTANTYN BAGAIEV, OLESKKII             )
GLUKHAREV and CHANNEL REPLY, INC.        )
                   Defendants.           )
                                         )

       WHEREAS, on December 5, 2019, the Court directed that by December 31, 2019,

Dentons shall provide Defendants’ new defense counsel with its complete, fully-accessible

document database,

       WHEREAS, by December 31, 2019, in order to be relieved as Dentons counsel,

Dentons was ordered to file a certification with the Court that it has complied with the

production of all documents received or collected from Defendants to Defendants’ new

defense counsel;

       WHEREAS, on December 23, 2019, Dentons filed a Certification confirming that it

provided all data received or collected from the Defendants to Defendants’ new counsel;

       WHEREAS, the Court directed Plaintiffs’ counsel and Defendants’ new defense

counsel to meet and confer regarding the documents that Plaintiffs seek, and if the issue was

not resolved by December 31, 2019, Plaintiffs were granted permission to bring the issue to

the Court’s attention after December 31, 2019;
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         WHEREAS, on December 23, 2019, Plaintiffs’ counsel attempted to meet and confer

with Defendants’ new counsel regarding all outstanding discovery sought by Plaintiffs, as

well as a time frame for when Defendants’ new counsel could address all outstanding

discovery issues, and to further agree on a proposed joint scheduling Order to submit to the

Court;

         WHEREAS, on December 23, 2019, Defendants’ new counsel confirmed that they

had just received all discovery from Dentons and required additional time to respond;

         WHEREAS, Plaintiffs’ counsel agreed to refrain from seeking relief from the Court

through January 15, 2020 to allow Defendants’ new counsel to provide all outstanding

discovery to Plaintiffs;

         WHEREAS, on December 23, 2019, Plaintiffs’ counsel identified all outstanding

discovery issues, in writing, to Defendants’ new counsel;

         WHEREAS, as of January 15, 2020, Defendants’ new counsel has not provided a

response to all outstanding discovery issues and/or proposed dates for an amended

scheduling order;

         WHEREAS, Plaintiffs seek to amend the Court’s existing scheduling order of

September 27, 2019 as set forth below;

         NOW, THEREFORE, the Court is amending the Court’s existing scheduling order of

September 27, 2019 as follows:

         1. Defendants shall provide written responses and responsive documents to

            Plaintiffs’ outstanding discovery demands dated December 23, 2019 on or before

            January 31, 2020;




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    2. Fact witness depositions shall be completed on or before March 16, 2020;

    3. Any amended pleadings shall be filed on or before March 31, 2020;

    4. Expert reports shall be exchanged on or before than April 30, 2020;

    5. Expert depositions shall be completed on or before June 1, 2020;

    6. The Parties shall file dispositive motions on or before June 30, 2020; and

    7. The joint pretrial order shall be submitted within 30 days after a decision on

       dispositive motions.


SO ORDERED
Dated:                            ______________________________
                                  Robert W. Lehrburger, U.S.M.J.




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